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specified below, or at such address, to the attention of such other Person, and with such other
copy, as the recipient Party has specified by prior written notice to the sending Party pursuant to
the provisions of this Section 10.7.

If to the Purchaser, to:

Rockstar Bidco, LP

c/o Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas

New York, New York 10019-6064

Attention: Marilyn Sobel

Facsimile: +1-212-757-3900

With copies (that shall not constitute notice) to:

Weil, Gotshal & Manges LLP

201 Redwood Shores Parkway
Redwood Shores, California 94065
United States

Attention: Kyle C. Krpata
Facsimile: +1-650-802-3100

and

Weil, Gotshal & Manges LLP
767 Fifth Avenue

New York, New York 10153
United States

Attention: Ronit J. Berkovich
Facsimile: +1-212-310-8007

and

Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas

New York, New York 10019-6064

Attention: Marilyn Sobel

Facsimile: +1-212-757-3900

If to the NA Sellers or the Other Sellers, to:

Nortel Networks Corporation

5945 Airport Road

Suite 360

Mississauga, Ontario, Canada L4V 1R9

Attention: Anna Ventresca
General Counsel-Corporate, Corporate Secretary and
Chief Compliance Officer

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Facsimile: +1-905-863-2057
and

Nortel Networks Limited

5945 Airport Road

Suite 360

Mississauga, Ontario, Canada L4V 1R9
Attention: Anna Ventresca

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General Counsel-Corporate, Corporate Secretary and

Chief Compliance Officer
Facsimile: +1-905-863-2057

and

Nortel Networks Inc.
Legal Department
4001 E. Chapel Hill — Nelson Hwy.
Research Triangle Park, North Carolina 27709
United States
Attention: Timothy Ross
Secretary and Vice President
Facsimile: +1-919-905-3741

With copies (that shall not constitute notice) to:

Cleary Gottlieb Steen & Hamilton LLP
One Liberty Plaza
New York, New York 10006
United States
Attention: Paul J. Shim

James L. Bromley

Lisa M. Schweitzer
Facsimile: +1-212-225-3999

and

Norton Rose OR LLP

200 Bay Street

Suite 3800, P.O. Box 84

Royal Bank Plaza, South Tower
Toronto, Ontario M5J 2Z4
Canada

Attention: Michael Lang
Facsimile: +1-416-216-3930

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If to the EMEA Sellers, to:

Alan Bloom / Christopher Hill / Stephen Harris
Ernst & Young LLP

1 More London Place

London

SE] 2AF

United Kingdom

Facsimile: +44 (0) 20 7951 1345

With copies (that shall not constitute notice) to:

Alex Kay

Herbert Smith LLP

Exchange House

Primrose Street

London

EC2A 2HS

United Kingdom

Facsimile: +44 (0) 20 7098 4447

If to the Joint Administrators, to:

Alan Bloom / Christopher Hill / Stephen Harris
Ernst & Young LLP

1 More London Place

London

SE1 2AF

United Kingdom

Facsimile: +44 (0) 20 7951 1345

With copies (that shall not constitute notice) to:

Alex Kay

Herbert Smith LLP

Exchange House

Primrose Street

London

EC2A 2HS

United Kingdom

Facsimile: +44 (0) 20 7098 4447

and
Avner Ben-Gera

Hughes Hubbard & Reed LLP
One Battery Park Plaza

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New York, New York 10004
United States
Facsimile: +1-212-299-6366

If to NNSA or the French Liquidator, to:

Attention: Cosme Rogeau
26 avenue Hoche

78000 Versailles

France

Facsimile: +33 1 39 49 44 63

With a copy (that shall not constitute notice) to:

Foucaud, Tchekhoff, Pochet & Associés
Attention: Antoine Tchekhoff & Edouard Fabre
lbis, avenue Foch

75116 Paris

France

Facsimile: +33 1 45 00 08 19

Any such demand, notice, communication or report shall be deemed to have been given pursuant
to this Agreement when delivered personally, when confirmed if by facsimile transmission, or on
the day after deposit with a reputable overnight courier service, as applicable.

SECTION 10.8. Exhibits: Sellers Disclosure Schedule.

(a) The Sellers Disclosure Schedule, the Exhibits attached hereto and Annex I
constitute a part of this Agreement and are incorporated into this Agreement for all purposes as if
fully set forth herein.

(b) Disclosure in any section of the Sellers Disclosure Schedule of any facts
or circumstances shall be deemed to be adequate response and disclosure of such facts or
circumstances in any other section of the Sellers Disclosure Schedule as though fully set forth in
such other section, if it is reasonably apparent from the Sellers Disclosure Schedule that such
disclosure is applicable. The inclusion of any information in any section of the Sellers
Disclosure Schedule shall not be construed as indicating that such matter is necessarily required
to be disclosed in order for any representation, warranty or statement to be true and correct. The
Sellers Disclosure Schedule is qualified in its entirety by reference to this Agreement and is not
intended to constitute, and shall not be construed as constituting, representations or warranties by
any Nortel Party except to the extent expressly set forth therein. The inclusion of any
information in any section of the Sellers Disclosure Schedule or other document delivered by the
Sellers, the Joint Administrators or the French Liquidator pursuant to this Agreement shall not be
deemed to be an admission or evidence of the materiality of such item, nor shall it establish a
standard of materiality for any purpose whatsoever.

SECTION 10.9. Counterparts. The Parties may execute this Agreement in
two or more counterparts (no one of which need contain the signatures of all Parties), each of

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which will be an original and all of which together will constitute one and the same instrument.
Delivery of an executed counterpart of a signature page to this Agreement by facsimile or
electronic mail shall be as effective as delivery of a manually executed counterpart of a signature
page to this Agreement.

SECTION 10.10. No Presumption. The Parties agree that this Agreement
was negotiated fairly between them at arm’s length and that the final terms of this Agreement are
the product of the Parties’ negotiations. Each Party represents and warrants that it has sought
and received experienced legal counsel of its own choosing with regard to the contents of this
Agreement and the rights and obligations affected hereby. The Parties agree that this Agreement
shall be deemed to have been jointly and equally drafted by them, and that the provisions of this
Agreement therefore should not be construed against a Party on the grounds that such Party
drafted or was more responsible for drafting the provisions.

SECTION 10.11. Severability. If any provision, clause or part of this
Agreement, or the application thereof under certain circumstances, is held invalid, illegal or
incapable of being enforced in any jurisdiction, (i) as to such jurisdiction, the remainder of this
Agreement or the application of such provision, clause or part under other circumstances, and
(ii) as for any other jurisdiction, all provisions of this Agreement, shall not be affected and shall
remain in full force and effect, unless, in each case, such invalidity, illegality or unenforceability
in such jurisdiction materially impairs the ability of the Parties to consummate the transactions
contemplated by this Agreement. Without limiting Section 5.6(f), upon such determination that
any clause or other provision is invalid, illegal or incapable of being enforced in such
jurisdiction, the Parties shall negotiate in good faith to modify this Agreement so as to effect the
original intent of the Parties as closely as possible in a mutually acceptable manner in order that
the transactions contemplated hereby be consummated as originally contemplated to the greatest
extent possible even in such jurisdiction.

SECTION 10.12. No Set-off, Deduction or Counterclaim. Subject to
Section 2.2.2, every payment payable by any Party under this Agreement or under any of the
other Transaction Documents shall be made in full without any set-off or counterclaim
howsoever arising and shall be free and clear of, and without deduction of, or withholding for,
any amount which is due and payable to such Party by any other Party whether under this
Agreement or under any of the other Transaction Documents or otherwise.

SECTION 10.13. Headings. The headings used in this Agreement are for the
purpose of reference only and shall not affect the meaning or interpretation of any provision of
this Agreement.

SECTION 10.14. Entire Agreement. This Agreement (including the Sellers
Disclosure Schedule and all Exhibits attached hereto), the Non-Disclosure Agreement, the
Supplementary Non-Disclosure Agreement and the Transaction Documents together set forth the
entire understanding of the Parties relating to the subject matter thereof, and all prior or other
contemporaneous understandings, agreements, representations and warranties, whether written or
oral, are superseded by this Agreement, the Non-Disclosure Agreement, the Supplementary Non-
Disclosure Agreement and the Transaction Documents, and all such prior or other
contemporaneous understandings, agreements, representations and warranties are hereby

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terminated. In the event of any irreconcilable conflict between this Agreement and the Non-
Disclosure Agreement or the Supplementary Non-Disclosure Agreement, the provisions of this
Agreement shall prevail. Furthermore, the Parties each hereby acknowledge that this Agreement
embodies the justifiable expectations of sophisticated parties derived from arm’s-length
negotiations; all Parties specifically acknowledge that no Party has any special relationship with
another Party that would justify any expectation beyond that of an ordinary buyer and an
ordinary seller in an arm’s-length transaction.

SECTION 10.15. Availability of Equitable Relief; Limitations on Damages;
Sole and Exclusive Remedy.

(a) The Parties agree that irreparable damage would occur in the event that
any of the provisions of this Agreement were not performed in accordance with their specific
terms or were otherwise breached. Accordingly, subject to the limitations set forth in this
Section 10.15, each of the Parties shall be entitled to equitable relief to prevent or remedy
breaches of this Agreement (other than with respect to breaches of Section 5.9(c)), without the
proof of actual damages, including in the form of an injunction or injunctions or orders for
specific performance in respect of such breaches. Each Party agrees, to the extent that such Party
is subject to any equitable remedy, to waive any requirement for the security or posting of any
bond in connection with any such equitable remedy. Each Party further agrees that the only
permitted objection that it may raise in response to any action for equitable relief is that it
contests the existence of a breach or threatened breach of the provisions of this Agreement or
that equitable relief is not available pursuant to the express terms of this Section 10.15. Without
limiting the preceding provisions of this Section 10.15, it is acknowledged and agreed that (i) in
the event of a material breach by the Sellers, the Purchaser shall be entitled to equitable relief to
compel specific performance by the Sellers of all of the transactions contemplated by this
Agreement (other than Section 5.9(c) hereof) and any other Transaction Documents, in each case
subject to the provisions of such document, including to effect the sale of the Assets to the
Purchaser as contemplated by Article II, and (ii) under no circumstances shall any Person be
liable for punitive damages arising out of, or in connection with, this Agreement or the
transactions contemplated hereby or any breach or alleged breach of any of the terms hereof or
any other Transaction Document. Except for the indemnification rights of Seller Indemnitees
expressly set forth in Section 10.1, nothing set forth in this Agreement shall confer or give, or
shall be construed to confer or give, to any Person (including any Person acting in a
representative capacity) other than the Parties any rights or remedies against any Person.

(b) Notwithstanding anything to the contrary contained in any Transaction
Document but except in the case of actual fraud by any Seller, in no event shall any of the Nortel
Parties be subject to any damage, remedy or relief in respect of any Liability to the Purchaser in
connection with, or relating to, or arising under this Agreement, any other Transaction Document
or the transactions contemplated hereby or thereby, either prior to or after the Closing, and
regardless of whether any such claim arises in contract, tort, breach of warranty or any other
legal or equitable theory, in each case other than: (i) equitable relief granted pursuant to and in
accordance with Section 10.15(a); and (ii) prior to the Closing, for monetary damages in an
aggregate amount not to exceed Twenty-Nine Million Dollars ($29,000,000).

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(c) The provisions of this Section 10.15 and the limitations on remedies
provided hereunder were specifically bargained for between the Purchaser and the Sellers and
were taken into account by the Purchaser and the Sellers in arriving at the Purchase Price. The
Sellers have expressly relied on the provisions of this Section 10.15, and the limitations on
remedies provided hereunder in agreeing to the Purchase Price and in agreeing to provide the
specific representations, warranties, statements and covenants set forth herein.

SECTION 10.16. Bulk Sales Laws. Subject to the entry of the U.S. Sale
Order and the Canadian Approval and Vesting Order, each Party waives compliance by the other
Party with any applicable bulk sales Law.

SECTION 10.17. NA Sellers as Representatives of Other Sellers.

(a) For all purposes of this Agreement, each Other Seller hereby irrevocably
appoints NNI as its representative.

(b) Pursuant to Section 10.17(a), NNI shall expressly have the power to, in the
name and on behalf of each Other Seller, (i) take all decisions and carry out any actions required
or desirable in connection with this Agreement, (ii) send and receive all notices and other
communications required or permitted hereby, and (iii) consent to any amendment, waivers and
modifications hereof.

SECTION 10.18. Obligations of Sellers and EMEA Sellers. When references
are made in this Agreement to certain Sellers causing other Sellers or other Affiliate(s) to
undertake (or to not undertake) certain actions, or agreements are being made on behalf of
certain other Sellers or other Affiliates, “Sellers” for purposes of such clause shall be deemed to
mean, respectively, NNI (in the case of a U.S. Debtor) and NNL (in the case of a Canadian
Debtor other than NNC and a Non-Debtor Seller). Notwithstanding anything to the contrary
herein, the obligations of each EMEA Seller hereunder shall be several and not joint. Effective
as of the date hereof, the parties are fully bound by the terms of this Agreement. For the
avoidance of doubt, (x) no Seller shall assume any responsibility or liability for any obligations
relating to any assets and/or liabilities that are not owned by it, and each Seller’s liability to the
Purchaser in relation to any matter contained in this Agreement shall be limited to the assets
and/or liabilities of the relevant Seller and (y) the intent of the Parties and the EMEA Sellers is
that the obligations and any liabilities of the EMEA Sellers, the Joint Administrators and the
French Liquidator under this Agreement will arise concurrently with the obligations and
liabilities of the Sellers under this Agreement.

SECTION 10.19. Exclusion of Liability of Joint Administrators and
Acknowledgement.

(a) Notwithstanding that this Agreement shall have been signed by the Joint
Administrators both in their capacities as administrators of the EMEA Sellers for and on behalf
of the EMEA Sellers and in their personal capacities, it is hereby expressly agreed and declared
that no personal Liability, or any Liability whatsoever, under or in connection with this
Agreement shall fall on the Joint Administrators, or their firms, partners, employees, agents,

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advisers or representatives whether such Liability would arise under paragraph 99(4) of schedule
B1 to the Insolvency Act or otherwise.

(b) The Parties agree that the Joint Administrators have negotiated and are
entering into this Agreement as agents for the EMEA Sellers to which they are appointed, that
none of the Joint Administrators, their firm, partners, employees, advisers, representatives or
agents shall incur any personal liability whatsoever whether on their own part or in respect of
any failure on the part of any other party to observe, perform or comply with any of its
obligations under this Agreement, or under or in relation to any associated arrangements or
negotiations.

(c) The Joint Administrators are parties to this Agreement: (i) as agents of
each of the respective EMEA Sellers of which they are administrators; and (ii) in their own
capacities solely for (1) taking the benefit of the statutory charges under Paragraph 99(3) of
Schedule B1 of the Insolvency Act, or otherwise, (2) obtaining the benefit of any provisions of
this Agreement expressed to be conferred on them, (3) enforcing the obligations of the other
Parties to this Agreement and (4) for the purpose of receiving the benefit of this Section 10.19.

(d) The Parties agree that any breach of this Agreement by the Joint
Administrators shall be deemed to be a breach by them in their capacities as administrators of the
relevant EMEA Sellers, and, in such a case, each party hereto shall have the right to make claims
and assert its rights hereunder, against the relevant EMEA Sellers and their respective successors
and assigns.

SECTION 10.20. Exclusion of Liability of French Liquidator and
Acknowledgments. Notwithstanding that this Agreement shall have been signed by the French

Liquidator both in his capacity as liquidator of NNSA for and on behalf of NNSA and in his
personal capacity, it is hereby expressly agreed and declared that no personal Liability, or any
Liability whatsoever, under or in connection with this Agreement shall fall on the French
Liquidator or his firms, partners, employees, agents, advisers or representatives whether such
Liability would arise under the FCC or otherwise.

SECTION 10.21. Joint Administrators and French Liquidator as agents of
EMEA Sellers.

(a) For all purposes of this Agreement, the Joint Administrators and the
French Liquidator act without personal liability as agents of the EMEA Sellers.

(b) The Joint Administrators shall expressly have the power to, in the name
and on behalf of each EMEA Seller as its agent: (i) take all decisions and carry out any actions
required or desirable in connection with this Agreement; (ii) send and receive all notices and
other communications required or permitted hereby; and (iii) consent to any amendment, waivers
and modifications hereof.

(c) The French Liquidator shall expressly have the power to, in the name and

on behalf of NNSA as its agent: (i) take all decisions and carry out any actions required or
desirable in connection with this Agreement; (ii) send and receive all notices and other

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communications required or permitted hereby; and (iii) consent to any amendment, waivers and
modifications hereof.

SECTION 10.22. Limitations.

(a) Under this Agreement, except for any documents, the forms of which have
been agreed by the Joint Administrators and the French Liquidator as at the date of this
Agreement, none of the EMEA Sellers, the Joint Administrators or the French Liquidator shall
be required to enter into or execute any document unless such document contains exclusions of
liability in favour of the Joint Administrators or the French Liquidator (as applicable), to an
extent consistent with, or more favourable than, the exclusions of liability provided in favour of
the Joint Administrators or the French Liquidator (as applicable) in this Agreement. For the
avoidance of doubt, neither the Joint Administrators nor the French Liquidator shall be required
to enter into or execute any document in their personal capacities or as administrators of the
EMEA Sellers or mandataire liquidateur of NNSA respectively, to the extent that such
document would cause the Joint Administrators and/or the French Liquidator to incur any
personal liability.

(b) The obligations or undertakings of the Joint Administrators and the French
Liquidator under this Agreement are subject to their duties to act at all relevant times in the best
interests of the creditors of the EMEA Sellers (in respect of the Joint Administrators) and, in
relation to the French Liquidator, NNSA. Accordingly, nothing in this Agreement shall operate
to derogate from, restrict, or prevent the Joint Administrators and French Liquidator from
complying with their statutory duties or legal obligations in relation to the exercise of their
powers, duties or functions as, in the case of the Joint Administrators, administrators of the
EMEA Sellers or, in the case of the French Liquidator, as mandataire liquidateur of NNSA,
under the Insolvency Act, FCC or any other applicable legislation or statutory instrument as they
see fit, (acting in good faith) and/or preclude the Joint Administrators from terminating the
administration of the EMEA Sellers pursuant to the Administration Orders (and/or the French
Liquidator from terminating his appointment as mandataire liquidateur of NNSA) should the
Joint Administrators (and/or the French Liquidator, in relation to NNSA) be required to do so to
discharge their statutory duties or legal obligations, provided that, notwithstanding the foregoing,
any failure to comply with the terms of this Agreement by any EMEA Seller will be a breach of
this Agreement by the relevant EMEA Seller, and the Purchaser shall not be restricted from
claiming against the relevant EMEA Seller and receiving any remedy, or exercising any right,
other than a claim against the Joint Administrators or the French Liquidator in their respective
personal capacities, to which it is otherwise entitled pursuant to the terms of this Agreement, for
any breach of this Agreement notwithstanding that the Joint Administrators or the French
Liquidator (as applicable) are complying with such statutory duties or legal obligations in
accordance with this Section 10.22.

SECTION 10.23. Limitations on Post-Closing Obligations. Notwithstanding
any other provisions in this Agreement, all outstanding obligations of each EMEA Seller under
this Agreement (except under Section 5.11 (Confidentiality), and Article 6 (Tax Matters)) shall
cease on and from the date six (6) months following the Closing Date without prejudice to
(i) any accrued obligations of the EMEA Sellers, (ii) any accrued rights of the Purchaser, or

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(iii) any accrued Liabilities in relation to any obligations to have been carried out by the EMEA
Sellers, in each of (i), (ii) or (iii), prior to or on such date.

[Remainder of this page intentionally left blank. Signature pages follow.]

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IN WITNESS WHEREOF, the parties have duly executed this Asset Sale

Agreement as of the date first written above.

NORTEL NETWORKS
CORPORATION

By:

Name: x hri M. Doolittle
Title: or Vice-President, Corporate

“pe ‘ter Officer
By:

Name: geo foe Weeael
Title: Chie Hee Officer and President,
Business Units

NORTEL NETWORKS LIMITED

By:

Name/ Jdhn M. Doolittle
Title: nior Vice-President, Corporate

eyyices an AL Officer
By:

Name: deoigd 2 iedel
e

Title: Chi Strategy Officer and President,
Business Units

Asset Sale Agreement Signature Page

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Name
Title:

Asset Sale Agreement Signature Page

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SIGNED for and on behalf of Nortel Net-
works UK Limited (in administration) by
Christopher Hill as Joint Administrator (act-
ing as agent and without personal liability)
in the presence of;

ON

SRO eeaeereceevent tenes Seoeeeeesorasssevess CUES CD OV OS eaHentabenny

Name: “JAN OROE LL
Address: Ernst & Young LLP, 1 More Lon-
don Place, SE1 2AF

Witness signature

et

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Asset Sale Agreement Signature Page

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SIGNED for and on behalf of Nortel Net- ) deaseceneeeseeneea Eo Cordbiceseesssecseseteneecs
works 8.A. (in administration and liguida- ) Christopher Hill

tion Judiciaire) by Christopher Hill as Joint )

Administrator (acting as agent and without )

personal liability) in the presence of:

Witness signature On

sroveveccssssennaeverssscaesntoae eee )

Address: Ernst & Young LLP, | More Lon- )
don Place, SE1 2AF

Asset Sale Agreement Signature Page

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SIGNED for and on behalf of Nortel
GmbH (in administration) by Christopher
Hill as Joint Administrator (acting as agent
and without personal liability) in the pres-
ence of:

Witness signature

SAE e CeCe eae ene S enue see esas ss eeMea med ssee ry UEDEt Essen Dies is eceeees

Address: Ernst & Young LLP, | More Lon-
don Place, SE1 2AF

Asset Sale Agreement Signature Page

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SIGNED for and on behalf of Nortel Net-
works France S.A.S. (in administration) by
Kerry Trigg acting as authorised representa-
tive of Christopher Hill as Joint Administra-
tor (acting as agent and without personal
liability) in the presence of:

Witness signature (

Ones hgha ce TEs TTT Ge UEC Nee ees Aen ade EE EORAGEDENE ECE ERaEEVEEESOEEDEDOCLE

Name: LEIS A HARE N
Address:

EO Penisy @ YOUNG LLB
t More London Place
London

$51 ZAR

Asset Sale Agreement Signature Page

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SIGNED for and on behalf of Nortel Net-
works (Ireland) Limited (in administra-
tion) by David Hughes as Joint Administra-
tor (acting as agent and without personal
liability) in the presence of:

FOO EO T OOO e eH ECE HOCH DD aT OED Ered EASES REEOeEDEsEeEE

David Hughes

Newel Swe Nee Sense”

Witness signature

CREED TV EEDEOHEHDE' LR: ‘ea o eeteu PORRRSSELERORCOCOOOSD
Name:
* (4-RB. ney

# ERNST & YOUNG
ERNST & YOUNG BUILDING
HARCOURT CENTR E,
HARCOURT ST.
DUBLIN 2.

Asset Sale Agreement Signature Page

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SIGNED by Alan Bloom ) sevececevsecrseusecs

) Alan Bloom
in his own capacity and on behalf of the Joint)
Administrators without personal liability and
solely for the benefit of the provisions of this
Agreement expressed to be conferred on or
given to the Joint Administrators:

Witness signature

FRCRRAOR TOUTE SE EHO CHO HOSE OW YTE TUT Coe SEDO URERODEESABANEAAA EDD DERD DED RR0NF )

Name: wWiema etAhttwn )
Address: Ernst & Young LLP, 1 More London )
Place, London SE1 2AF

Asset Sale Agreement Signature Page

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Signed by MAITRE COSME ROGEAU,
acting in the capacity of Mandatatre
Liquidateur of NORTEL NETWORKS S.A.
(IN ADMINISTRATION AND
LIQUIDATION JUDICIARE), without
personal liability and solely for the purpose of
obtaining the benefit of the provisions of this
Agreement expressed to be conferred on or

given to the French Liquidator:
. / . fo

Tide:

In the presence of: .
Witness signature hy

Name: /
: : POLS
Address AA TERY ‘a a =“, ee

SIGNED for and on behalf of NORTEL
NETWORKS S.A, (IN
ADMINISTRATION AND
LIQUIDATION JUDICIARE)

by MAITRE COSME ROGEAU as
Mandataire Liquidateur (acting as agent
and without personal liability) in the
presence of:

Witness signature f /

4

PATEEV Sunn Fouere
(meter, ETON

AGis Wenut. Fete
Pub Oras (faant)

Asset Sale Agreement Signature Page

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ROCKSTAR BIDCO, LP

By: Rockstar Bidco GP, LLC, its General Partner

a K AA

Name:
Title:

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ANNEX I - Statements

Except (i) as set forth in the applicable sections of the Sellers Disclosure
Schedule or (ii) to the extent solely relating to the Excluded Assets or the Excluded Liabilities:

(a) To the Knowledge of the Sellers, an accurate, true and complete list of all
Patents owned in whole or in part by the Sellers (including Jointly Owned Patents and Specified
UK Patents) is set forth in Section A.I(a) of the Sellers Disclosure Schedule. Such list includes,
for each patent and patent application, the patent number or application serial number and the
jurisdiction, and for each U.S. patent and patent application that is not a Specified UK Patent, the
name of the Person holding such patent or patent application and the filing date and issue date, if
applicable. With respect to Jointly Owned Patents, the list identifies the co-owner(s) of each
U.S. patent and, to the extent the Sellers have or are able to obtain copies of the applicable
agreements, the agreements under which any Seller and the co-owner(s) share ownership of the
patent.

(b) None of the Listed Patents, the Listed Jointly Owned Patents, the
Specified Listed UK Patents or the Listed Inventions, and, to the Knowledge of the Sellers, none
of the other Transferred Patents, Jointly Owned Patents or Specified UK Patents, is subject to
any Liens other than Permitted Encumbrances, and no Seller has granted any exclusive license to
any Third Party with respect to any Listed Patent, Listed Jointly Owned Patent, Specified Listed
UK Patent or Listed Invention or, to the Knowledge of the Sellers, any other Transferred Patent,
Jointly Owned Patent or Specified UK Patent, which exclusive license is in force as of the date
hereof.

(c) With respect to the Specified Listed UK Patents, the Listed J ointly Owned
Patents and the Listed Patents, and, to the Knowledge of the Sellers, with respect to the other
Specified UK Patents, Jointly Owned Patents and Transferred Patents, the Sellers own all right,
title, and interest in and to each such Patent (other than the rights of co-owners of Jointly Owned
Patents in and to the Jointly Owned Patents); and subject to the Cross-License Agreements, the
Outbound License Agreements and the Commercial Licenses, such right, title, and interest are
sufficient for the Sellers to independently bring suit against a Third Party to enforce the Listed
Patents, the Specified Listed UK Patents, and, to the Knowledge of the Sellers, the other
Specified UK Patents and Transferred Patents.

(d) To the Knowledge of the Sellers,Section A.I(d) of the Sellers Disclosure
Schedule sets forth an accurate, true and complete list of all Contracts between the Sellers or
their Affiliates, on the one hand, and any other Person, on the other hand, under which the
Sellers or their Affiliates both (i) grant a license under any Transferred Patent, Jointly Owned
Patent or Specified UK Patent and (ii) receive from the counter-party a license under Patents
owned by (or licensed to) such counter-party (but other than inbound or outbound license
agreements where the only grant back from the licensee is under improvements on the licensed
Intellectual Property) (collectively, the “Cross-License Agreements”), and the Sellers have
furnished a correct and complete copy of each such Contract in its final and effective form to the
Purchaser prior to the date hereof, except to the extent disclosure of the terms or existence of a
Cross License Agreement is prohibited, in which case it has been omitted from Section A.I(d) of

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the Sellers Disclosure Schedule, but the number of such Cross License Agreements that have
been omitted is set forth in Section A.I(d) of the Sellers Disclosure Schedule.

(e) To the Knowledge of the Sellers, Section A.I(e) of the Sellers Disclosure
Schedule sets forth an accurate, true and complete list of all Contracts (other than Cross-License
Agreements and Commercial Licenses) under which the Sellers or their Affiliates grant a license
(including a grant back or any other express license made by any of the Sellers (as licensors) to
improvements or any other license rights) to a Transferred Patent, Jointly Owned Patent or
Specified UK Patent (whether alone or with any Software or Trade Secrets) (collectively, the
“Outbound License Agreements”), indicating for each such Outbound License Agreement the
title and the parties thereto, and the Sellers have furnished a correct and complete copy of each
such Contract in its final and effective form to the Purchaser prior to the date hereof.

(f) To the Knowledge of the Sellers, (i) Section A.I(f) of the Sellers
Disclosure Schedule sets forth (A) an accurate, true and complete list of each transition services
agreement, master purchase agreements and development and support agreements that the Sellers
entered into with the purchasers of its various business units after the Petition Date in connection
with their divestitures and (B) with respect to the transition services agreements, the original
scheduled termination date thereof (which, as of the date hereof, has not been extended by more
than 90 days), and (ii) the scope of the licenses granted under the Transferred Patents, J ointly
Owned Patents and Specified UK Patents pursuant to such transition services agreements, master
purchase agreements and development and support agreements is not broader than the scope of
such licenses contained in the form licenses provided to the Purchaser prior to the date hereof in
the Data Room as document numbers 2.5.3.187 2.5.3.193, 2.5.3.194 and 2.5.3.195; it being
understood that work orders under certain of such agreements have been issued pursuant to such
agreements, but are not listed. To the Knowledge of the Sellers, the license rights, if any,
granted by the Sellers under the Transferred Patents, Jointly Owned Patents and Specified UK
Patents pursuant to each such transition services agreement during the term of such transition
services agreement shall expire upon the termination of such transition services agreement
(except for (A) rights to use and make certain Software applications and tools relating to the
businesses being divested, to the extent that such Software applications and tools were delivered
by the Sellers or their Affiliates and (B) internal use of Intellectual Property created by Sellers or
their Affiliates prior to the expiration of such transition services agreement in support of or
during the course of performing the services, to the extent such Intellectual Property has been
delivered, including by integration into the divested business.

(g) To the Knowledge of the Sellers, there is no Action pending asserting
invalidity, misuse or unenforceability of any of the Jointly Owned Patents, Transferred Patents or
Specified UK Patents or challenging the Sellers’ right to use, right to transfer, or ownership of
any of the Jointly Owned Patents, Transferred Patents or Specified UK Patents.

(h) To the Knowledge of the Sellers, each of the registrations and applications
for the Jointly Owned Patents, Transferred Patents or Specified UK Patents included in the
Assets is currently in good standing and subsisting. The foregoing will not be construed as a
warranty that any patent will issue based on a patent application.

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(i) To the Knowledge of the Sellers, Section A.I(i) of the Sellers Disclosure
Schedule sets forth an accurate, true and complete list of all Actions (including opposition,
interferences and cancellation petitions and like proceedings) against any Seller, except for the
Bankruptcy Proceedings, pending before any Government Entity or threatened in writing that
involves the Jointly Owned Patents, Transferred Patents or Specified UK Patents.

(Gj) To the Knowledge of the Sellers, there are no prior or preferential rights,
rights of first refusal, rights of first offer or other similar rights of any party (other than the
Purchaser) to purchase or otherwise acquire any of the Assets.

(k) To the Knowledge of the Sellers: every Patent solely owned by the Sellers
or their Affiliates, except for the Excluded Patents, is included among the Listed Patents or the
Specified Listed UK Patents; every Patent jointly owned by one or more of the Sellers and their
Affiliates, on the one hand, and one or more Third Parties, on the other hand, except for the
Excluded Patents, is included among the Listed Jointly Owned Patents; and every invention
disclosure owned by the Sellers or their Affiliates and under consideration for the filing of a
patent application is included among the Listed Inventions.

(I) No Person listed in Section A.I(1) of the Sellers Disclosure Schedule has
been granted any license (other than a Commercial License) under the Jointly Owned Patents,
Transferred Patents or Specified UK Patents by the Sellers, which license is in force as of the
date hereof, it being understood that such Persons may have rights or licenses solely with respect
to products or services sold or provided by the Sellers or Sellers’ Affiliates.

(m) To the Knowledge of the Sellers, Section A.I(m) of the Sellers Disclosure
Schedule sets forth an accurate, true and complete list of all Contracts (other than Cross-License
Agreements and Outbound License Agreements listed in Sections A.I(d) or A.I(e) of the Sellers
Disclosure Schedule, respectively) under which the Sellers or their Affiliates have joint
ownership in the Jointly Owned Patents (collectively, the “Joint Ownership Agreements”),
indicating each Jointly Owned Patent and the title and the parties to each such agreement, and
the Sellers have furnished a correct and complete copy of each such Contract in its final and
effective form to the Purchaser prior to the date hereof.

(n) To the Knowledge of the Sellers, no Affiliate of the Sellers that is not
itself a Seller owns any Patents, invention disclosures or Patent Related Documentation.

(0) To the Knowledge of the Sellers, (i)(x) all promises, declarations and
commitments granted, made or committed in writing by the Sellers to standard-setting bodies or
industry groups (other than those contained in membership agreements, by-laws or policies of
standard-setting bodies or industry groups and described in clause (y) below or, without limiting
clause (y) below, in Section A.I(b) of the Sellers Disclosure Schedule) and that may concern the
Transferred Patents or Specified UK Patents, together with the title and number of the standard
and the Patents to which such promises, declarations or commitments refer (in each case, to the
extent identified in the respective promise, declaration or commitment),are listed in
Section A.I(0)(i)(x) of the Sellers Disclosure Schedule, and (y) all membership agreements, by-
laws or policies of standard-setting bodies or industry groups in which Sellers were participants
and which contained commitments that may concern the Transferred Patents or Specified UK

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Patents granted in writing by the Sellers and which bind Sellers to bind the Purchaser thereto, are
listed in Section A.I(0)(i)(y) of the Sellers Disclosure Schedule; and (ii) except as set forth on
Schedule A.I(o)(ii) of the Sellers Disclosure Schedule, none of the declarations, promises and
commitments referred to in clause (i) above require royalty-free licensing of any of the
Transferred Patents.

(p) The patents, patent applications and provisional patent application listed in
Section 1.1(c) of the Sellers Disclosure Schedule are solely those sold after the Petition Date to
purchasers in connection with sales of divisions of Sellers and are not included in the Sellers’
Patents.

(q) There exist no Permitted Encumbrances of the type described in clause
(i) of the definition of “Permitted Encumbrances” on any of the Assets.

(r) To the Knowledge of the Sellers, there exist no Licensed Residual Patents
(other than invention disclosures that (x) relate to a patent application filed anywhere in the
world or (y) are dated thirty (30) months or more before the date hereof) or Undisclosed Patent
Interests.

(s) To the Knowledge of the Sellers, the aggregate amount of all unpaid past,
present and future income and royalties payable to the Sellers under (i) the Transferred Licenses
and (ii) any licenses granted under the Transferred Patents, Jointly Owned Patents or Specified
UK Patents does not exceed $10 million.

(t) The portions of the Ericsson Licenses and any other agreement between
any Seller, on one hand, and Ericsson on the other hand, which were redacted in the copy of such
agreements provided in the Data Room, do not provide for: (i) the assignment to any Person of
any ownership or exclusive rights (including any option to acquire ownership or exclusive rights)
to any Transferred Patents, Specified UK Patents or Jointly Owned Patents, (ii) the grant of any
sublicense or other license rights under the Transferred Patents, Specified UK Patents or Jointly
Owned Patents, (iii) the Sellers to have any rights to receive an ownership or exclusive interest in
any Patents transferred by any Sellers to Ericsson or (iv) any rights for any Person in any
improvements to any Transferred Patents, Specified UK Patents or J ointly Owned Patents made
by any Seller or any purchaser of Transferred Patents, Specified UK Patents or J ointly Owned
Patents.

(u) The Sellers have disclosed to Purchaser all agreements, contracts, notices
and correspondence to, from or with Ericsson that relate in any way to the Transferred Patents,
Jointly Owned Patents or Specified UK Patents, other than agreements, contracts, notices and
correspondence relating to a potential stalking horse transaction for the Transferred Patents,
Jointly Owned Patents and Specified UK Patents, as a whole.

(v) To the Knowledge of the Sellers, there exist no disputes between any
Seller, on the one hand, and Ericsson, on the other hand, concerning the Transferred Patents,
Jointly Owned Patents or Specified UK Patents or the scope of any licenses granted to
the Transferred Patents, Jointly Owned Patents or Specified UK Patents.

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(w) There are no Collective Labor Agreements in effect or labor organizing
efforts outstanding or threatened with respect to any Employee of any of the Sellers.

(x) | No Employee of any of the Sellers works in Quebec, Canada.

(y) [Reserved]

(z) To the Knowledge of the Sellers, there is no ongoing and will be no future
manufacture, development, sale, supply or other distribution, or servicing of Nortel Products or
other products under the Transferred Patents or Specified UK Patents by, for or on behalf of
Sellers or an Affiliate of any Seller, other than to the extent such activities would be permitted
after the Closing Date pursuant to the terms of the Closing Date License Agreement or
Section 5.13(b) of this Agreement.

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“Permitted Encumbrances” means (i) any Lien arising by operation of Law in respect of a
liability of the EMEA Sellers where such liability does not rank as an Administration Expense;
(ii) Liens arising hereunder or under any Assigned Contracts (after giving effect to the
assignment hereunder) if such Liens exclusively secure Assumed Liabilities; (iii) Liens imposed
by any Bankruptcy Court in connection with the Bankruptcy Proceedings that are discharged at
Closing pursuant to the terms of the Canadian Approval and Vesting Order or the U.S. Sale
Order (or, in the case of Undisclosed Patent Interests, upon transfer pursuant to Section 5.19);
(iv) Liens set forth in Section 1.1(g) of the Sellers Disclosure Schedule; (v) entitlements,
customary covenants, restrictions and other similar charges or encumbrances securing a liability
of the EMEA Sellers only that do not, individually or in the aggregate, impair in any material
respect the use or value of the Assets subject thereto and that exclusively secure Assumed
Liabilities and (vi) (x) the promises, declarations, commitments and statements made by , as well
as conduct and actions undertaken by, the Sellers in writing (including as recorded in the minutes
of the applicable standard-setting body or industry group) to standard-setting bodies or industry
groups concerning the Transferred Patents, Purchased Specified UK Patents or Undisclosed
Patent Interests, in each case, solely to the extent valid and legally enforceable, and (y) the
commitments concerning the Transferred Patents, Purchased Specified UK Patents or
Undisclosed Patent Interests granted in writing by the Sellers pursuant to the membership
agreements, by-laws, practices or policies of standard-setting bodies or industry groups in which
Sellers were participants, solely to the extent the Sellers are bound by such standard-setting
bodies’ or industry groups’ membership agreements, by-laws, practices or policies to bind the

Purchaser to such commitments.

